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                             Nebraska Court of Appeals Advance Sheets
                                  31 Nebraska Appellate Reports
                                        IN RE INTEREST OF JAY’ONI W. ET AL.
                                                Cite as 31 Neb. App. 302



                                    In re Interest of Jay’Oni W. et al.,
                                     children under 18 years of age.
                                      State of Nebraska, appellee, v.
                                         Breyonna W., appellant.
                                                     ___ N.W.2d ___

                                          Filed August 30, 2022.   No. A-21-990.

                 1. Juvenile Courts: Evidence: Appeal and Error. An appellate court
                    reviews juvenile cases de novo on the record and reaches its conclu-
                    sions independently of the findings made by the juvenile court below.
                    However, when the evidence is in conflict, an appellate court may
                    consider and give weight to the fact that the juvenile court observed the
                    witnesses and accepted one version of the facts over another.
                 2. Parental Rights: Proof. Terminating parental rights requires both clear
                    and convincing evidence that one of the statutory grounds enumerated in
                    Neb. Rev. Stat. § 43-292 (Reissue 2016) exists and clear and convincing
                    evidence that termination is in the best interests of the children.
                 3. Evidence: Words and Phrases. Clear and convincing evidence means
                    and is that amount of evidence which produces in the trier of fact a
                    firm belief or conviction about the existences of a fact to be proven. It
                    is more than a preponderance of evidence, but less than proof beyond a
                    reasonable doubt.
                 4. Parental Rights: Proof. Neb. Rev. Stat. § 43-292(7) (Reissue 2016)
                    operates mechanically and does not require the State to adduce evidence
                    of any specific fault on the part of the parent.
                 5. ____: ____. Any one of the bases for termination codified by Neb. Rev.
                    Stat. § 43-292 (Reissue 2016) can serve as a basis for termination of
                    parental rights when coupled with evidence that termination is in the
                    best interests of the children.
                 6. Parental Rights. When a parent is unable or unwilling to rehabilitate
                    himself or herself within a reasonable period of time, the child’s best
                    interests require termination of parental rights.
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         Nebraska Court of Appeals Advance Sheets
              31 Nebraska Appellate Reports
                IN RE INTEREST OF JAY’ONI W. ET AL.
                        Cite as 31 Neb. App. 302
 7. Parental Rights: Time. The 15-month condition contained in Neb. Rev.
    Stat. § 43-292(7) (Reissue 2016) provides a reasonable timetable for
    parents to rehabilitate themselves.
 8. Parental Rights. Children cannot, and should not, be suspended in fos-
    ter care or be made to await uncertain parental maturity.

 Appeal from the Separate Juvenile Court of Douglas County:
Amy N. Schuchman, Judge. Affirmed.
  Thomas C. Riley, Douglas County Public Defender, and
Lauren A. Walag for appellant.
  Kristin Huber, Deputy Douglas County Attorney, and
Traemon Anderson, Senior Certified Law Student, for appellee.
  Pirtle, Chief Judge, and Bishop and Welch, Judges.
   Pirtle, Chief Judge.
                      INTRODUCTION
   Breyonna W. appeals from an order of the separate juvenile
court of Douglas County terminating her parental rights with
respect to one of her minor children, Jasmine W. For the rea-
sons that follow, we affirm.
                        BACKGROUND
   We are tasked with reviewing the termination of Breyonna’s
parental rights with respect to her daughter Jasmine, born in
2013. However, Jasmine is only one of three children involved
in the underlying juvenile court proceedings, as Breyonna is
also the biological mother of Jasmine’s two younger sisters,
Ja’Niyah W., born in 2018, and Jay’Oni W., born in 2020. All
three children resided with Breyonna until they were removed
from Breyonna’s care in March 2020. Thereafter, all three
children were placed together in a kinship foster home, and
despite Ja’Niyah’s being placed with her father for a period
of time, all three children remained placed together as of the
termination hearings in September and October 2021. As far as
we are aware, all three children continue to reside together in
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
              IN RE INTEREST OF JAY’ONI W. ET AL.
                      Cite as 31 Neb. App. 302
a kinship foster home, and Breyonna’s parental rights remain
intact with respect to Ja’Niyah and Jay’Oni. Thus, while
Ja’Niyah and Jay’Oni will be discussed only as necessary to
address Breyonna’s claims with respect to Jasmine, this case
presents the rather unique circumstance of three siblings that
have experienced more or less the same progression through
the juvenile court system, yet only one of the three has so
far been subjected to the termination of her mother’s paren-
tal rights.
   The present case arose out of an incident on March 22,
2020, in which Breyonna reportedly sent her mother a message
threatening to kill Ja’Niyah because Ja’Niyah called Breyonna
a “‘FAT ASS Bitch.’” In response, Breyonna’s mother called
law enforcement to conduct a welfare check of the three chil-
dren, and the responding officers observed the following:
         The house had trash piled up in the corners, trash
      and dirt all over the floor making it difficult to move
      around, open containers of food and beverages were lit-
      tered around the entire house, dirty laundry was piled
      up in every room, the bathroom had not been cleaned in
      sometime [sic], used femine [sic] hygeine [sic] products
      were on the floor, unknown bugs were crawling around
      the bathroom, the floors and walls had been drawn on and
      damaged, mold was observed in open containers, there
      was one bed for all 4 people, and the house smelled of
      stale and old food.
         All the children were dressed in dirty clothes and did
      not smell clean.
   On March 24, 2020, based on the foregoing, the State filed
an ex parte motion for immediate temporary custody and a
juvenile petition alleging that the three children came within
the meaning of Neb. Rev. Stat. § 43-247(3)(a) (Reissue 2016),
in that they lacked proper parental care by reason of the fault
or habits of Breyonna. The juvenile court granted the ex parte
motion and ordered the Nebraska Department of Health and
Human Services to take temporary custody of the children.
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
   Cheyenne Wilson, who was the case manager for this fam-
ily throughout the life of the case, later testified that all three
children were initially placed in the home of Breyonna’s
grandmother. The children remained in that home from March
to December 2020, at which point they were placed in the
home of Jasmine’s paternal great-aunt. Although Ja’Niyah
was apparently placed for a time in the home of her father,
Wilson testified that at the time of the termination hearings, all
three children were placed in the home of Jasmine’s paternal
great-aunt.
   On April 1, 2020, the court found probable cause to sup-
port the State’s juvenile petition and ordered that the chil-
dren remain in the temporary custody of the department.
Additionally, the court entered a number of orders regarding
services for Breyonna and the children. The court ordered that
Breyonna “shall have reasonable rights of agency supervised
family time/visitation as arranged by the [department]” and
“invited” Breyonna to engage in a number of additional serv­
ices. The court further ordered that “St. Francis is to arrange
and provide for services for [Breyonna] as she has indicated
she is willing to participate in these services.”
   On June 11, 2020, Breyonna admitted to “Count I-B and
Count I-C” of the juvenile petition in exchange for the State’s
dismissal of the remaining counts. Specifically, Breyonna
admitted that “[o]n or about March 22, 2020, law enforce-
ment officials observed the family home . . . to be in a filthy,
unwholesome condition placing said juveniles at risk of harm,”
and that she “has failed to provide proper parental care, sup-
port and/or supervision for said juveniles.” Thus, the juvenile
court entered an order finding, by a preponderance of the
evidence, that all three children were within the meaning
of § 43-247(3)(a). The court ordered that Breyonna “shall”
attend a psychiatric appointment for medication evaluation,
complete a parenting assessment, participate in family support
services, participate in agency supervised visitation, complete
a co-occurring evaluation, and sign releases of information
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
              IN RE INTEREST OF JAY’ONI W. ET AL.
                      Cite as 31 Neb. App. 302
“between her probation officer and St. Francis.” On July
30, the juvenile court additionally ordered Breyonna to par-
ticipate in parent-child interactive therapy with Jay’Oni and
Jasmine, undergo a psychological evaluation with a parenting
assessment, undergo a psychiatric evaluation, maintain a stable
source of income, maintain adequate housing, participate in
a domestic violence course, and submit to random urinalysis
drug testing.
   On December 2, 2020, the juvenile court entered an order
largely reiterating the previously ordered services, with the
exception of the psychological evaluation and the co-occurring
evaluation, as Breyonna completed those evaluations in October
and November 2020 respectively. As a result of the psychologi-
cal evaluation, Breyonna was recommended to participate in
trauma-based therapy, which the court added to the ordered
services. As a result of the co-occurring evaluation, Breyonna
was recommended to participate in “Level 2.1 [o]utpatient
treatment,” which the court added to the ordered services. On
March 29, 2021, the juvenile court entered an order reiterating
the same ordered services. Although the ordered services still
included a psychiatric evaluation, Wilson later testified that
Breyonna completed the psychiatric evaluation in February
2021 and that she was recommended “to continue with medi-
cation management and to take the prescribed medication and
return on a monthly basis.”
   On April 7, 2021, the guardian ad litem for the children
filed an ex parte motion to suspend visitation. The motion
was based on an affidavit from a “visitation and family sup-
port worker” “outlining her concerns regarding [Breyonna’s]
visitation, including [Breyonna’s] being unable to control her
emotions during visits, repeatedly inspecting [Ja’Niyah] for
marks on her body and in her vaginal region, apparent dete-
riorating mental health, and signs of being under the influ-
ence.” On April 8, the juvenile court granted the motion of the
guardian ad litem and entered an ex parte order suspending
visitation. On May 12, the court entered an order finding that
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
“upon agreement of the parties, [Breyonna] shall be allowed
to have visitation with [Jay’Oni, Ja’Niyah, and Jasmine] in the
form of virtual visitation.” Visitation was set to occur once a
week, with increased frequency “at the discretion of the case
manager.” As of the first termination hearing, visitation had
not increased beyond once a week, and visits continued to
occur virtually.
   On June 28, 2021, the State filed a motion for termina-
tion of Breyonna’s parental rights with respect to Jay’Oni and
Jasmine only. The motion alleged that Jay’Oni and Jasmine
came within the meaning of Neb. Rev. Stat. § 43-292(2), (6),
and (7) (Reissue 2016). The motion did not identify any fac-
tual basis with respect to the allegations under § 43-292(2) and
(7). With respect to the allegation under § 43-292(6), the State
listed the court-ordered services that it believed Breyonna had
not successfully completed, alleging that Breyonna had failed
to do the following: (1) participate in parent-child interactive
therapy; (2) obtain and maintain a stable and legal source of
income; (3) maintain safe, appropriate, and adequate hous-
ing; (4) participate in trauma-focused therapy; (5) submit to
urinalysis testing; (6) participate in “Level 2.1 [o]utpatient
treatment”; (7) participate in supervised visitation; and (8)
follow recommendations of the psychiatric evaluation. The
State thus alleged that terminating Breyonna’s parental rights
with respect to Jay’Oni and Jasmine was in the best interests
of the children. Breyonna made her first appearance on the
motion for termination on July 1, at which time she entered,
and the court accepted, a plea of denial to the allegations in the
motion. On July 6, the juvenile court entered an order largely
reiterating the ordered services for Breyonna, except Breyonna
was no longer ordered to participate in parent-child interac-
tive therapy.
   On September 22, 2021, the court held the first of two
hearings on the motion for termination of Breyonna’s paren-
tal rights with respect to Jay’Oni and Jasmine. Wilson was
the only witness to testify at the first termination hearing. At
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
the start of the hearing, the court indicated that “[w]e are
here for adjudication on the motion for termination of paren-
tal rights regarding Jay’Oni and Jasmine.” However, it was
eventually revealed that the termination proceedings actually
pertained to Jasmine alone, given that an appearance had been
entered by Jay’Oni’s biological father.
   With regard to the court order that Breyonna maintain
adequate housing, Wilson testified that “Breyonna has con-
sistently reported that she has had housing . . . . The big-
gest concern was the appropriateness of the housing.” Wilson
testified that family support services was “assigned to assist
Breyonna with different housing goals.” Wilson testified that
Breyonna initially worked with her family support worker to
address the safety and cleanliness of the home; however, at
some point, “the goals shifted, as Breyonna . . . was under
the impression that she wasn’t going to be able to stay in that
apartment, in that residence much longer, and it started shifting
towards applying for different housing services.” Wilson testi-
fied that when she asked to go inside Breyonna’s residence,
Breyonna “often told [her] that the home is not appropriate
and she doesn’t want me to come inside.” Wilson testified
that Breyonna “seems to understand and acknowledge that she
needs to address her housing situation.” However, Breyonna
continued to reside in the same residence at the time of the ter-
mination hearings, and there was no indication that Breyonna
had made progress toward establishing a home which was safe
and suitable for the children.
   With regard to the court order that Breyonna maintain
a stable source of income, Wilson testified that Breyonna
“reported on a couple different times that she has worked
at different locations and was also trying to apply for dis-
ability.” Wilson testified that throughout the pendency of
this case, Breanna worked at three different businesses. With
respect to two of the businesses, there was no evidence as to
the time period during which Breyonna was working at those
locations. With respect to the third, Wilson testified only that
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
              IN RE INTEREST OF JAY’ONI W. ET AL.
                      Cite as 31 Neb. App. 302
Breyonna worked there for “a month or two.” According to
Wilson, Breyonna reported that she was fired from the third
business because “she had been late numerous times to work
but that she also wore the wrong clothing for work.” With
respect to disability, Wilson testified that Breyonna worked
with her family support worker to complete an application,
but “the next steps required from disability had not been com-
pleted and so Breyonna was needing to reapply.”
   As mentioned above, Breyonna was ordered to participate
in Level 2.1 outpatient treatment as recommended by the
co-occurring evaluation completed in November 2020. Wilson
testified Level 2.1 outpatient treatment is “for both group ses-
sions and individual sessions a couple times a week, two to
three times a week.” Wilson testified that Breyonna arranged
to participate in treatment at the Douglas County Community
Mental Health Center (CMHC), and her first appointment was
sometime in April 2021. Wilson testified that Breyonna went to
at least “a couple” additional appointments at CMHC and did
not report any issues.
   At some point, Wilson contacted CMHC and a “treat-
ment provider” recommended to her that Breyonna complete
an updated chemical dependency evaluation, “as there was
concern that maybe the Level 2.1 outpatient [treatment] was
not sufficient for Breyonna.” An updated chemical depen-
dency evaluation recommended that Breyonna participate in
residential treatment. Wilson testified that “Breyonna was not
resistant to going” and that “[s]he was open to getting help
through a residential treatment facility.” Breyonna arranged
to participate in residential treatment at “Stephen Center”
beginning on August 25, 2021. However, Wilson testified
that Breyonna was unsuccessfully discharged from Stephen
Center on September 6 because Breyonna “felt [a peer] had
made a threat to her. . . . Breyonna had talked with staff at
the Stephen Center [and] did not feel it was handled appropri-
ately. Breyonna had made a statement that she could possibly
burn the place down.”
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
              IN RE INTEREST OF JAY’ONI W. ET AL.
                      Cite as 31 Neb. App. 302
    After being discharged from Stephen Center, Breyonna
arranged for residential treatment at “Family Works.”
Breyonna was scheduled to begin treatment at Family Works
on September 21, 2021, the day prior to the September 22
hearing. However, Breyonna did not show up to Family Works
as scheduled. Wilson testified that Breyonna would need to
call Family Works to set up a new appointment, but it is
unclear if that was ever done.
    With regard to the court order that Breyonna participate in
trauma-focused therapy, Wilson testified that such would have
been completed “at the same time” as Breyonna’s chemical
dependency treatment. Wilson testified that “we had already
had the recommendation for her treatment for substance use
and [trauma-focused] therapy would have and could have
been completed during that time in both treatments.” This
would seem to suggest that Breyonna was supposed to par-
ticipate in trauma-focused therapy as part of her Level 2.1
outpatient treatment at CMHC and then her residential treat-
ment at Stephen Center and, prospectively, at Family Works.
However, there was no mention of trauma-focused therapy in
those contexts. Wilson ultimately testified that Breyonna did
not participate in trauma-focused therapy, although Wilson tes-
tified that Breyonna appeared to understand the importance of
both “chemical dependency and trauma-focused treatment” and
“was willing to engage in those services.”
    As mentioned above, Breyonna completed the court-ordered
psychiatric evaluation in February 2021 and, according to
Wilson, was recommended to “continue with medication man-
agement and to take the prescribed medication and return on a
monthly basis.” Wilson testified that Breyonna was “willing to
participate” with that recommendation; however, Wilson sug-
gested that Breyonna was somewhat ambivalent about taking
her medications and attending appointments. Wilson testified
as follows:
      Breyonna indicated at times that she was not taking her
      medication. There were times where she reported she
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
      would — she liked taking her medication. There were
      times she reported she didn’t like her medication and that
      she didn’t want to take it. That it made her feel different.
      And I had suggested she talk with her doctor and return to
      other appointments. Breyonna had reported that she had
      gone to some of those appointments but was not always
      consistent in taking her medication.
   Wilson added, “I believe [Breyonna] has an appointment
scheduled [in October], but I believe it has been at least a cou-
ple months before — since she has been to that appointment.”
Wilson testified that she last spoke to staff at the psychiatrist’s
office in August 2021, and they told Wilson that Breyonna
“did not attend every appointment that was on a monthly basis
but had attended some of them.” Wilson also testified that
Breyonna reported she was taking her medication at Stephen
Center but “had not been taking it once leaving.”
   With regard to supervised visitation, Wilson testified that
due to the COVID-19 pandemic, the initial visits were entirely
virtual. Wilson testified that in-person visits began in “June
or July of 2020.” Wilson testified that the initial virtual vis-
its occurred “maybe three to five times a week,” and once
in-person visits began, they were scheduled for “about three
times a week.” Wilson testified that Breyonna’s visits were
initially supervised through an agency called Apex, but that
Breyonna was discharged in “June or July of 2020” due to her
lack of participation in visits.
   Wilson also testified that Breyonna was incarcerated on two
different occasions during this case, and Wilson confirmed
that Breyonna was not able to participate in any visits, virtual
or otherwise, while incarcerated. Wilson testified Breyonna
was initially incarcerated for “around a month” due to “an
altercation with a person she had been in a relationship with.”
Wilson’s testimony indicates that the first period of incar-
ceration occurred sometime between July and August 2020.
According to Wilson, Breyonna was incarcerated a second time
for “just shy of two weeks” due to a violation of probation.
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
Wilson testified that Breyonna was on probation for child
abuse and neglect as a result of the incident that resulted in
the children’s removal, and she was incarcerated for violating
probation requirements such as complying with juvenile court
orders, working toward reunification, and refraining from sub-
stances. It is unclear when the second period of incarceration
occurred, although Wilson indicated elsewhere that Breyonna
spent “some time in jail” around June or July 2021.
   After Breyonna was discharged from visitations through
Apex, Wilson testified that visits recommenced with an agency
called Capstone after Breyonna was released from jail, which,
despite the testimony above, Wilson indicated was not until
November 2020. Wilson testified that the Capstone workers
reported some difficult behaviors from Jasmine and Ja’Niyah
during visits, adding that both Breyonna and the visitation
workers had difficulty redirecting the children. Due to diffi-
culties controlling all three children at the same time, Wilson
testified that visits were split such that Breyonna visited with
Jasmine and Jay’Oni at one time and with Ja’Niyah at another
time. Wilson further testified that, at some point, Capstone
communicated additional concerns “regarding consistency and
just quality of the visits, conversations that were happening
during visits.”
   Wilson testified that Capstone continued to supervise visits
at the time of the termination hearings, which, in accordance
with the court’s May 12, 2021, order, were occurring once a
week through a virtual platform. When asked about the pur-
pose for the order limiting visits to one virtual visit a week,
Wilson testified it was due to an incident in March 2021 in
which Breyonna had “interrogated Jasmine regarding whether
or not she was taking her own ADHD medication.” According
to Wilson, “[t]he visitation worker had stated that she had tried
to redirect this conversation but Breyonna continued and this
brought Jasmine to tears, really struggling with why her mom
did not believe her and why this was happening.” Wilson testi-
fied that she spoke to Breyonna about this incident and that
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        Nebraska Court of Appeals Advance Sheets
             31 Nebraska Appellate Reports
               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
Breyonna stated “she did ask Jasmine but Jasmine never cried
and . . . she didn’t understand why that was an issue.”
    A second motion to suspend visitation was filed on September
30, 2021, and attached thereto was an affidavit in which the
visitation worker attested that a September 17 virtual visit was
cut short due to “the rapid decline” in the children’s moods.
The visitation worker added that it was “very clear Breyonna
. . . was on substances and unable to withstand any conversa-
tion with the youth.” The visitation worker further attested that
a September 24 virtual visit was similarly cut short after “the
good natured mood among the youth rapidly changed to chaos
and crying.”
    A significant amount of time at the first termination hearing,
and nearly the entirety of the second termination hearing, was
spent discussing court-ordered drug testing and Breyonna’s
compliance therewith. Wilson testified that Breyonna was ini-
tially referred for drug testing with an agency called “Owens
&amp; Associates.” Wilson testified that Breyonna did not par-
ticipate in “the majority” of her drug tests through Owens &amp;
Associates. According to Wilson, Breyonna reported “on mul-
tiple occasions that she was willing to test but she didn’t want
to because she would be positive for marijuana.” Breyonna
ultimately participated in only 4 out of 16 tests attempted from
August 30 to November 4, 2020. In the first three completed
tests, Breyonna tested “presumptive positive” for marijuana
and negative for all other drugs. In the fourth completed test,
Breyonna tested negative for all drugs. Breyonna was dis-
charged from Owens &amp; Associates on November 5, 2020, for
missing 12 out of 16 attempted tests. Notably, Wilson testified
that Breyonna was discharged in “August of 2020,” but the
testimony of a supervisor from Owens &amp; Associates and the
related exhibit clearly refuted that testimony.
    Wilson testified that Breyonna was subsequently referred
for drug testing with Capstone and that such testing occurred
in August 2020. However, a supervisor from Capstone testi-
fied that Breyonna began testing with it in November, which
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             31 Nebraska Appellate Reports
               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
is consistent with her discharge from Owens &amp; Associates.
He testified that Breyonna was ultimately discharged in June
2021 for lack of participation and that during those 6 months,
Breyonna participated in only 3 of 85 attempted tests. However,
the exhibit he prepared shows only the attempted tests from
February through June 2021. This may be explained by the fact
that Capstone briefly discharged Breyonna in January before
“immediately” accepting the referral again that same month.
Thus, it appears the supervisor from Capstone prepared only
the records from the second period of testing, and during that
period of time, there is only a record of one completed test
which was negative for all substances.
    While the actual results were not entered into evidence, the
record nevertheless indicates that Breyonna tested positive
for methamphetamine at least once during the first period of
testing with Capstone. Wilson testified that she approached
Breyonna about one of the November 2020 test results and
that Breyonna reported “her neighbor may have laced her joint
with methamphetamine.” Moreover, on December 2, the juve-
nile court ordered that “Saint Francis Ministries shall ascertain
from [Breyonna’s] chemical dependency evaluator whether or
not a higher level of care is warranted, given her recent posi-
tive test for methamphetamine.”
    After being discharged from Capstone in June 2021,
Breyonna was referred again to Owens &amp; Associates. Breyonna
was eventually discharged from Owens &amp; Associates in August,
due to her entering residential treatment at Stephen Center. In
those 2 months with Owens &amp; Associates, Breyonna com-
pleted 7 of 12 attempted tests. In the first six completed tests,
Breyonna tested negative for all drugs. In the seventh com-
pleted test, Breyonna tested “presumptive positive” for meth-
amphetamine and negative for all other drugs.
    Regarding Jasmine’s progress during the case, Wilson tes-
tified that Jasmine was diagnosed with “ADHD,” and when
Wilson first met her, Jasmine “was very hyperactive. She
was very difficult to have a conversation with. She could
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               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
not sit still. She was very disrespectful towards her great-
grandmother, . . . her foster parent.” Wilson also pointed out
that Jasmine was “very rough with her younger sisters” and
that she “appeared as if she had a lot of responsibility and
knew a lot that kids her age are typically not responsible
for.” Wilson saw Jasmine on a monthly basis, and when she
last saw Jasmine in September 2021, she noticed “significant
improvements, even in school, being able to identify letters
and read on her own. She is excited about school. She is able
to sit down and actually be very calm and have a conversa-
tion.” Wilson said that Jasmine “really made a lot of progress
in being able to understand and verbalize things that she wants
and that she needs.” Further, Jasmine was “much more age-
appropriate with her siblings at this time.”
   Wilson ultimately testified to her opinion that it would be
in Jasmine’s best interests for Breyonna’s parental rights to
be terminated. As to the basis of that opinion, Wilson testified
as follows:
      Throughout my time working with Breyonna and Jasmine,
      Breyonna has not shown an ability to be consistent or
      meet the needs of Jasmine. She has not made significant
      progress in this case to address her own mental health
      and substance use needs to put herself in a position to
      parent her child. I have seen Jasmine make such huge
      progress in the time that she has been able to be in foster
      care and be in a position where she is getting not only
      some stability and consistency but the ability to not have
      to parent her younger siblings and to be a kid and focus
      on her school and the things that she wants to do and
      enjoys to do.
   With regard to Jasmine’s input, Wilson testified that “[s]he
says she loves her mom, she misses her mom, she’s very wor-
ried about her mom, and wants her mom to get help.”
   After adducing the urinalysis-related testimony of the
supervisor from Owens &amp; Associates and the supervisor from
Capstone at the second termination hearing, the State rested
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               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
and submitted the matter on the evidence without argument.
The guardian ad litem for the children did not adduce any evi-
dence or provide any argument. The defense provided a brief
argument, emphasizing Breyonna’s cooperation and engage-
ment with services and asserting that the State failed to meet
its burden to terminate parental rights.
   On November 15, 2021, the juvenile court entered an order
terminating Breyonna’s parental rights with respect to Jasmine
only. The court found that the State had proved, by clear and
convincing evidence, statutory bases for termination under
§ 43-292(2), (6), and (7) and that termination of Breyonna’s
parental rights was in the best interests of Jasmine. With regard
to the allegations under § 43-292(6), the court found that each
was true by clear and convincing evidence, except the court
dismissed allegations (1) and (6) above. The court thus termi-
nated Breyonna’s parental rights with respect to Jasmine, and
Breyonna brought this appeal.

                  ASSIGNMENTS OF ERROR
   Breyonna assigns that the juvenile court erred in terminating
her parental rights because the State failed to prove by clear
and convincing evidence that Jasmine was within the mean-
ing of § 43-292(2), (6), and (7) and because the State failed to
prove by clear and convincing evidence that termination was in
the best interests of Jasmine.

                  STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on
the record and reaches its conclusions independently of the
findings made by the juvenile court below. In re Interest
of Mateo L. et al., 309 Neb. 565, 961 N.W.2d 516 (2021).
However, when the evidence is in conflict, an appellate court
may consider and give weight to the fact that the juvenile court
observed the witnesses and accepted one version of the facts
over another. Id.                             - 317 -
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                          ANALYSIS
   [2,3] Under Nebraska law, terminating parental rights
requires both clear and convincing evidence that one of the
statutory grounds enumerated in § 43-292 exists and clear and
convincing evidence that termination is in the best interests
of the children. See In re Interest of Donald B. &amp; Devin B.,
304 Neb. 239, 933 N.W.2d 864 (2019). Clear and convinc-
ing evidence means and is that amount of evidence which
produces in the trier of fact a firm belief or conviction about
the existences of a fact to be proven. In re Interest of Kindra
S., 14 Neb. App. 202, 705 N.W.2d 792 (2005). Further, clear
and convincing evidence is more than a preponderance of evi-
dence, but less than proof beyond a reasonable doubt. Id.
Statutory Grounds for Termination.
   [4,5] The State alleged a number of statutory grounds for ter-
mination, including § 43-292(7), which allows for termination
when “[t]he juvenile has been in an out-of-home placement for
fifteen or more of the most recent twenty-two months.” Section
43-292(7) operates mechanically and does not require the State
to adduce evidence of any specific fault on the part of the par-
ent. See In re Interest of Mateo L. et al., supra. Any one of the
bases for termination codified by § 43-292 can serve as a basis
for termination of parental rights when coupled with evidence
that termination is in the best interests of the children. In re
Interest of Leyton C. &amp; Landyn C., 307 Neb. 529, 949 N.W.2d
773 (2020).
   In this case, the juvenile court found that Jasmine came
within the meaning of § 43-292(7). Based on our de novo
review of the record, we also find clear and convincing evi-
dence that Jasmine came within the meaning of § 43-292(7).
Jasmine was removed from Breyonna’s care and custody in
March 2020 and never returned. On appeal, Breyonna con-
cedes that Jasmine has been in foster care beyond the statutory
timeframe set forth in § 43-292(7). Thus, there is no doubt
that Jasmine came within the meaning of § 43-292(7), and
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               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
Breyonna’s assignment of error regarding statutory grounds
for termination is without merit.

Best Interests.
   Based on our de novo review of the record, we conclude
the juvenile court did not err in finding clear and convinc-
ing evidence that termination of Breyonna’s parental rights
was in Jasmine’s best interests. We arrive at this conclusion
because the evidence regarding Breyonna’s continued drug
use, lack of income, lack of suitable housing, and overall lack
of progress toward reunification raises serious concerns about
Breyonna’s parental fitness and her ability to rehabilitate her-
self within a reasonable period of time. Additionally, Jasmine
had made “significant improvements” since being removed
from Breyonna’s care. Where Jasmine had been “hyperactive,”
difficult to converse with, unable to sit still, and “very rough
with her younger sisters” when she was initially removed from
Breyonna’s care, Jasmine had improved in foster care to being
able to understand and verbalize things better, she could sit
down and calmly have a conversation, and she was “much
more age-appropriate with her siblings.”
   [6-8] When a parent is unable or unwilling to rehabilitate
himself or herself within a reasonable period of time, the
child’s best interests require termination of parental rights. In
re Interest of Leyton C. &amp; Landyn C., supra. The 15-month
condition contained in § 43-292(7) provides a reasonable time-
table for parents to rehabilitate themselves. In re Interest of
Leyton C. &amp; Landyn C., supra. Furthermore, children cannot,
and should not, be suspended in foster care or be made to await
uncertain parental maturity. In re Interest of Alec S., 294 Neb.
784, 884 N.W.2d 701 (2016).
   After 18 months of court-supervised rehabilitation efforts,
Breyonna has failed to make meaningful progress toward put-
ting herself in a position to parent her children. Breyonna
failed to participate in the vast majority of court-ordered
drug testing, and of the tests that were completed, many were
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               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
positive for substances. Breyonna apparently held three differ-
ent jobs during the 18 months of proceedings, yet she failed
to maintain any of those positions for an extended period of
time. Despite the condition of Breyonna’s residence being the
primary basis for the children’s removal, Breyonna remained
in that residence at the time of the termination hearings, and
despite the efforts of family support services, there was no
indication that the condition of the residence had improved.
Breyonna never progressed beyond supervised visitation with
the children, and visitation workers repeatedly expressed con-
cerns about Breyonna’s behavior during visits and the negative
impact that such behavior had on the children. Breyonna’s con-
duct during visitation ultimately resulted in her being limited to
one virtual visit per week. Altogether, the record demonstrates
clear and convincing evidence of present parental unfitness,
and despite ample opportunity, Breyonna failed to take mean-
ingful steps toward rehabilitating herself. Thus, we affirm the
order of the juvenile court terminating Breyonna’s parental
rights as to Jasmine.
   As a cautionary note, we point out that the record in this
case is lacking evidence that would have been helpful to our
de novo review of Jasmine’s best interests. Aside from a single
affidavit discussing two virtual visits, the record is devoid of
evidence adduced directly from individuals who were actu-
ally present for visits between Breyonna and the children.
Wilson testified that she had never been present at any of the
visits, and her testimony was limited to reiterating general-
ized concerns reported to her from visitation workers. Our
ability to assess the nature of visits is further impacted by the
absence of any documentary evidence such as periodic court
reports or notes from visitation workers. As such, we are reli-
ant on Wilson’s recollection of those reports to conduct our de
novo review.
   Moreover, while Wilson suggested that Breyonna was not
adequately addressing her psychiatric needs, the record is
inexplicably devoid of any evidence regarding Breyonna’s
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             31 Nebraska Appellate Reports
              IN RE INTEREST OF JAY’ONI W. ET AL.
                      Cite as 31 Neb. App. 302
psychiatric diagnoses, prescription medications, or treatment
goals. At oral argument, the State indicated that this was
because Breyonna failed to sign releases of information such
that Wilson was not able to obtain this information. However,
the record refutes that claim. Wilson specifically testified to
speaking directly with Breyonna’s psychiatrist and getting
periodic updates on Breyonna’s “compliance with appoint-
ments.” Wilson further testified that she never had an issue
with Breyonna’s declining to sign a release of information in
this case.
   Perhaps most importantly, there was no testimony or other
evidence regarding the impact that terminating Breyonna’s
parental rights may or may not have on Jasmine, especially
considering the fact that Breyonna’s parental rights remained
intact with respect to Jasmine’s younger sisters who were both
placed with Jasmine in the same foster home. The State failed
to adduce evidence directly from many of the people most
able to testify as to Jasmine’s present condition and future
well-being. See In re Interest of Aaron D., 269 Neb. 249, 691
N.W.2d 164 (2005) (observing that State failed to present testi-
mony or other evidence from therapists, family support work-
ers, foster parents, and others who directly observed parties).
Rather, the State relied primarily on a single caseworker who
testified that she saw Jasmine only once a month.
   As the present case illustrates, evidence that a parent is
presently unfit, when coupled with a demonstrated inability
or unwillingness to rehabilitate oneself within a reasonable
period of time, can supply the information necessary to deter-
mine the best interests of the child. However, it must not be
forgotten that the focus of a termination proceeding is the
juvenile, not the parent. See id. Thus, evidence of parental
deficiencies should not be adduced to the exclusion of addi-
tional evidence relevant to the present condition and future
well-being of the child.
   In In re Interest of Alec S., 294 Neb. 784, 884 N.W.2d 701(2016), the Nebraska Supreme Court was presented with a
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             31 Nebraska Appellate Reports
               IN RE INTEREST OF JAY’ONI W. ET AL.
                       Cite as 31 Neb. App. 302
record that was similarly lacking certain evidence relevant to
the best interests analysis. In that case, the court observed that
while filling in the gaps could have aided appellate review,
the lack of all the “‘gory details’” does not necessarily mean
the State failed to meet its burden of proof. Id. at 795, 884
N.W.2d at 708. Likewise, in this case, we conclude that the
State satisfied its burden of proof despite failing to adduce
evidence that could have aided our de novo review.

                        CONCLUSION
   For the foregoing reasons, we affirm the order of the juve-
nile court terminating Breyonna’s parental rights to Jasmine.
                                                    Affirmed.
